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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                              :
UNITED STATES OF AMERICA                      :      Case No.: 24-CR-00093 (JEB)
                                              :
       v.                                     :      18 U.S.C. § 111(a)(1)
                                              :
GREGORY YETMAN,                               :
                                              :
       Defendant.                             :
                                              :

                                STATEMENT OF OFFENSE

       Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, Gregory Yetman

(“Yetman” and “the defendant”), with the concurrence of the defendant’s attorney, agree and

stipulate to the below factual basis for the defendant’s guilty plea—that is, if this case were to

proceed to trial, the parties stipulate that the United States could prove the below facts beyond a

reasonable doubt:

                       The Attack at the U.S. Capitol on January 6, 2021

       1.      The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

       2.      On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public. The grounds around the Capitol were posted and cordoned off, and the entire area as well

as the Capitol building itself were restricted as that term is used in Title 18, United States Code,

Section 1752 due to the fact that the Vice President and the immediate family of the Vice President,

among others, would be visiting the Capitol complex that day.

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       3.      On January 6, 2021, a joint session of the United States Congress convened at the

Capitol. During the joint session, elected members of the United States House of Representatives

and the United States Senate were meeting in separate chambers of the Capitol to certify the vote

count of the Electoral College of the 2020 Presidential Election, which had taken place on Tuesday,

November 3, 2020. The joint session began at approximately 1:00 PM. Shortly thereafter, by

approximately 1:30 PM, the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint session,

and then in the Senate chamber.

       4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside. By shortly after 1:00 PM, the situation at the Capitol had

become a civil disorder as that term is used in Title 18, United States Code, Section 231, and

throughout the rest of the afternoon the civil disorder obstructed the Secret Service’s ability to

perform the federally protected function of protecting Vice President Pence.

       5.      At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior façade of the building. Officers with the D.C. Metropolitan Police

Department were called to assist officers of the USCP who were then engaged in the performance

of their official duties. The crowd was not lawfully authorized to enter or remain in the building

and, prior to entering the building, no members of the crowd submitted to security screenings or

weapons checks as required by USCP officers or other authorized security officials.



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       6.      At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $2.9 million dollars for repairs.

       7.      Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.

              The Defendant’s Participation in the January 6, 2021, Capitol Riot

       8.      Gregory Yetman, a heavy equipment operator living in New Jersey, drove to the

vicinity of Washington, D.C., on January 6, 2021. At that time, he was also an enlisted military

police officer with the U. S. Army National Guard. He parked near the Franconia-Springfield

Metro station and rode the Metro to the Smithsonian station, arriving at approximately 7:30 a.m.



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Yetman listened to the various speeches at the rally for then-President Trump at the Ellipse and

understood that then-President Trump state that they were going to go to the U.S. Capitol.

       9.      Yetman then walked to the west side of U.S. Capitol building, where he heard

people chanting, “Stop the Steal.” While there, he heard “flash bangs” and observed tear gas being

deployed by U.S. Capitol police officers who were defending the Capitol. He observed rioters

who had been exposed to gas and oleoresin capsicum (“OC”) spray and watched as other rioters

attempted to break windows. He also saw a police officer get pulled into the crowd but did not

attempt to help the officer.

       10.     The riotous mob eventually overran the outnumbered police officers defending the

west side of the Capitol. As it did so, Yetman climbed up to the platform on the West Terrace and

was among the rioters encircling remaining police officers who continued to attempt to defend the

federal Capitol building during the civil disorder. An isolated group of officers (who were visibly

wearing police uniforms) struggled with the riotous mob but were quickly surrounded and

assaulted from all sides. At approximately 2:29 p.m., as other rioters continued to assault those

officers, Yetman picked up an MK-46H cannister containing OC spray (a lachrymatory agent

capable of causing serious bodily injury), held the cannister under his arm, and, from within the

effective distance of the spray, intentionally assaulted the same group of besieged police officers

by spraying them with the OC spray. After Yetman sprayed multiple officers for approximately

12-14 seconds, the officers retreated towards other officers and left the area. The defendant

discarded the MK-46H cannister on the platform. As he retraced his steps, Yetman held up a

cellular telephone to take photographs and videos of the riotous mob. Shortly thereafter, Yetman

walked up to the Lower West Terrace where rioters were attempting to make entry into the U.S.

Capitol building through a heavily defended tunnel.



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       11.       On and shortly after January 6, the defendant made a series of posts on Facebook

describing his conduct at the U.S. Capitol. Among his posts, Yetman stated that “[w]hat happened

at the Capitol was unfortunate and unacceptable, I was there I witnesses it” but blamed Antifa for

starting the violence (“I can attest to Antifa members infiltrating our protest and meshing in with

the Trump supporters . . . They riled up Trump supporters and got the violence going.”). In one

post, he acknowledged that the police officers defending the U.S. Capitol were “there to do their

job,” but wrote in another:

               I was there...we were gathering and they started lobbing oc at us.
               people got posed and rightly so. it was sad to see what our country
               has come to but being peaceful and the “nice guys” got us nowhere.
               this won’t go away...the people have been wronged and we want
               justice and fairness. nobody went there to hurt law enforcement…
               but they sure as fuck hurt many people in return. they were relentless
               and i don’t think i’ll be backing the blue after this. they are modern
               brown shirts.

       12.     In January 2021, FBI agents interviewed Yetman.           Among other statements,

Yetman insisted that he supports law enforcement and that anyone who entered the Capitol or

assaulted an officer should be prosecuted.

       13.     Federal investigators attempted to arrest Yetman for his conduct on January 6 on

November 8, 2023. As soon as he saw the officers, however, Yetman first attempted to re-enter

his residence and, when unable to do so, fled into the woods on foot. He dropped a knife and a

cellular telephone; investigators subsequently located multiple firearms and significant quantities

of ammunition in his residence, a loaded firearm in his vehicle, and additional firearms and

weapons in a storage unit. After an extensive manhunt that lasted several days, Yetman turned

himself into local police officers on November 10, 2023.




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                                      Elements of the Offense

       14.      The parties agree that Assaulting, Resisting, or Impeding Certain Officers or

Employees in violation of 18 U.S.C. § 111(a)(1) requires the following elements:

             a. First, that the defendant assaulted officers from the Metropolitan Police

                Department;

             b. Second, the defendant did such acts forcibly;

             c. Third, the defendant did such acts voluntarily and intentionally;

             d. Fourth, the officers assaulted were assisting officers of the United States who were

                then engaged in the performance of their official duties; and

             e. Fifth, the defendant made physical contact with the officers or acted with the intent

                to commit another felony, namely, obstructing officers during a civil disorder in

                violation of 18 U.S.C. § 231(a)(3).


                                  Defendant’s Acknowledgments

       15.      The defendant knowingly and voluntarily admits to all the elements as set forth

above. Specifically, the defendant admits that that he forcibly, knowingly, and intentionally

assaulted police officers; that those officers were assisting officers of the United States who were

engaged in the performance of their official duties at the time of that assault; that the defendant

made physical contact with those officers; and that the defendant acted with the intent of

obstructing and impeding those officers while they were engaged in the lawful performance of

their duties during a civil disorder that both obstructed commerce and the performance of a

federally protected function. The defendant further admits that he used a dangerous weapon during

the assault on the police officers, and that the assault on the police officers was motivated by their

status as government employees.


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                                     Respectfully submitted,

                                     MATTHEW M. GRAVES
                                     United States Attorney
                                     D.C. Bar No. 481052


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                         DEFENDANT’S ACKNOWLEDGMENT


       I, Gregory Yetman, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that could
impede my ability to understand this Statement of the Offense fully.


Date: 3/28/24                         /s/ Gregory Yetman
                                      Gregory Yetman
                                      Defendant


                          ATTORNEY’S ACKNOWLEDGMENT


       I have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client’s desire to adopt this Statement of the Offense as true and accurate.



Date: 3/28/24
                                      Nicholas Smith
                                      Attorney for Defendant




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